                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT CINCINNATI

BOARD OF TRUSTEES OF THE PLUMBERS,            :
PIPEFITTERS & MECHANICAL EQUIPMENT            :
SERVICE, LOCAL UNION NO. 392 PENSION          : Case No. 13-CV-0004
FUND et al.,                                  :
                                              :
                Plaintiffs,                   : Judge Michael R. Barrett
                                              :
        vs.                                   :
                                              :
SUSAN L. HUMBERT d/b/a GENESIS                :
MECHANICAL, an individual and sole            : STIPULATED JUDGMENT
proprietor;                                   : ORDER
STEVEN L. HUMBERT d/b/a GENESIS               :
MECHANICAL, an individual and sole            :
proprietor;                                   :
STEVE REECE formerly d/b/a GENESIS            :
MECHANICAL SERVICES, an individual and        :
sole proprietor; and                          :
GENESIS MECHANICAL SERVICES, INC., an :
Ohio Corporation;                             :
                                              :
                        Defendants.           :
                _______________________________________________________

       Plaintiffs, the BOARD OF TRUSTEES OF THE PLUMBERS, PIPEFITTERS &

MECHANICAL EQUIPMENT SERVICE, LOCAL UNION NO. 392 PENSION FUND et al.

(“Trust Funds”), by and through their counsel, Joseph E. Mallon and Jeffrey A. Krol of Johnson

& Krol, LLC, the Defendants STEVEN HUMBERT (“Steven”) and SUSAN HUMBERT

(“Susan”), by and through their counsel, Douglas M. Morehart of Haverkamp Riehl & Michel,

Co. LPA, and the Defendant STEVE REECE (“Reece”) and GENESIS MECHANICAL

SERVICES, INC. (“GMSI”), by and through his counsel, Paul D. Dorger and Caroline K.

Musekamp of Keating, Muething & Klekamp, PLL, hereby stipulate to entry of a Judgment in

favor of the Plaintiffs as follows:



                                         Page 1 of 4
       WHEREAS, on March 30, 2017, the Court granted Defendants Reece and GMSI’s

Motion for Reconsideration and/or Clarification in part, and denied Defendants Steve and

Susan’s Motion for Reconsideration and/or Clarification (Doc. 84);

       WHEREAS, the Plaintiffs filed a Notice of Appeal to the United States Court of Appeals

for the Sixth Circuit challenging the Court’s decision, Case No. 17-3394, which was immediately

stayed pending this Court’s issuance of a final appealable order on the issue of damages;

       WHEREAS, Defendants Reece and GMSI previously filed a Notice of Appeal to the

United States Court of Appeals for the Sixth Circuit, Case No. 16-3285, which was ordered to be

held in abeyance pending an entry of final judgment;

       WHEREAS, in the interest of proceeding with the appeals, the Parties agree to the entry

of a Stipulated Judgment in accordance with the terms below.

IT IS HEREBY STIPULATED AND ORDERED AS FOLLOWS:

1.     Judgment is hereby entered in favor of the Plaintiffs and against the Defendants Steven,

       Susan and Reece, jointly and severally, in the amount of $45,304.16, which it itemized as

       follows:

       A.      $41,948.30 in contribution deficiencies as revealed by the Plaintiffs’ payroll

               compliance audit during the period of January 1, 2010 through August 11, 2011;

               and

       B.      $3,355.86 in liquidated damages resulting from the $41,948.30 in contribution

               deficiencies.

2.     By stipulating to the entry of this Judgment Order, none of the parties are waiving any

       rights or arguments in any subsequent proceedings, appeals, and/or further proceedings

       before the District Court and/or the United States Court of Appeals for the Sixth Circuit



                                           Page 2 of 4
        with respect to any issues, including but not limited to the amount of the damages to

        which the Plaintiffs are entitled to recover; rather, the parties agree to the entry of this

        judgment for the sole purpose of proceeding with the appeal.

3.      The Plaintiffs are authorized to petition the Clerk of Court for an award of costs and the

        Court for an award of attorney’s fees in accordance with Local Rule 54.1 and Rule 54 of

        the Federal Rules of Civil Procedure, subject to the rights of Defendants to seek legal and

        /or equitable relief relating to any such petition.



                                                         s/Michael R. Barrett
                                                        ____________________________________
                                                        Michael R. Barrett, Judge
                                                        United States District Court


Agreed and So Stipulated:

BOARD OF TRUSTEES OF THE
PLUMBERS, PIPE FITTERS &                            SUSAN L. HUMBERT and
MECHANICAL EQUIPMENT SERVICE,                       STEVEN L. HUMBERT
LOCAL UNION NO. 392 PENSION FUND,
et al.

/s/ Joseph E. Mallon                                /s/Douglas M. Morehart (with consent)
Joseph E. Mallon (0085786)                          Douglas M. Morehart
Jeffrey A. Krol (admitted pro hac vice)             Counsel for Defendants Steven and Susan
Counsel for Plaintiffs                              Humbert
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                                              Page 3 of 4
GENESIS MECHANICAL SERVICES,
INC. and STEVE REECE


/s/ Paul D. Dorger (with consent)
Paul D. Dorger (0059262)
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                                       Page 4 of 4
